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 Electric chair builder worried
 Tennessee execution will fail
  By TRAVIS LOLLER              October 31, 2018




  NASHVILLE, Tenn. (AP) — If Tennessee electrocutes Edmund
  Zagorski on Thursday, it will be in an electric chair built by a
  self-taught execution expert who is no longer welcome in the
  prison system and who worries that his device will malfunction.

  Fred Leuchter (LOOT’-cher) had a successful career in the
  execution business before his reputation was tainted by his
  claim that there were no gas chambers at Auschwitz.
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  Tennessee’s chair, which hasn’t been used since 2007, is just
  one of many execution devices Leuchter worked on between
  1979 and 1990, according to an article by Fordham University
  professor Deborah Denno in the William and Mary Law
  Review. In addition to electric chairs, Leuchter built,
  refurbished and consulted on gas chambers, lethal injection
  machines and a gallows for at least 27 states.

  After his comments about the Holocaust, it came to light that
  he had neither an engineering degree nor a license, even
  though he promoted himself as an engineer. His rise and fall
  was portrayed in a 2000 documentary.

  Nonetheless, Leuchter stands behind the electric chair he
  rebuilt in 1988, relying on skills picked up designing
  navigational and surveillance equipment and a careful study of
  documents describing early executions. His concern is that
  Tennessee’s chair will fail because of changes others made to it
  after he was no longer allowed to service it.

  “What I’m worried about now is Tennessee’s got an electric
  chair that’s going to hurt someone or cause problems. And it’s
  got my name on it,” Leuchter said. “I don’t think it’s going to be
  humane.”

  Gov. Bill Haslam said he is confident the execution can be
  carried out without problems.

  “I have a great deal of confidence in our Department of
  Correction folks. ... We’ve spoken with them regularly and
  they’ve assured us” the chair is ready.

  Leuchter said he was familiar with prisons because he
  accompanied his father to his job as superintendent of
  transportation in the Massachusetts state prison in the 1940s
  and ’50s, from about age 4 to age 16.


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  As a teenager, Leuchter helped his father move the state’s old
  electric chair when the prison relocated, and he remembers
  they had to do it on a Sunday because the warden didn’t want
  the news media to know.

  “I helped put the chair in the truck. We covered it up with
  canvas,” he said.

  Years later, when it looked as though Massachusetts might
  restart capital punishment after a long hiatus, a prison steward
  who knew Leuchter’s father asked Leuchter to come in and see
  whether the old chair was still usable.




  From there, “my name was given to other states,” Leuchter
  said.

  He said many of their electric chairs were “decrepit, defunct,
  didn’t work properly — if they ever had in the first place.”

  Denno, a law professor at Fordham who has studied execution
  methods for more than 25 years, said Leuchter filled a void.
  Often “the most qualified people don’t want to be involved” in
  executions, she said.

  Even after he was no longer welcome as a prison contractor,
  Denno said prison officials continued to contact Leuchter for
  help “because they literally had no one else to go to.”

  Tennessee asked Leuchter to refurbish its chair in 1988, when
  it was facing the possibility of its first execution in decades.

  “It looked like it was made for a midget or something,”
  Leuchter said.

  So he built a new chair that incorporated wood from the
  original, which he was told was from the old gallows, and
  replaced the chair’s electrodes. He also replaced the old leather
  straps that tether prisoners to the chair with quick-release

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  nylon belts, to aid guards tasked with removing bodies after
  executions.

  He trained prison workers and gave them certificates as
  “electrocution technicians.”

  Leuchter said he sold the original chair. A collector of
  “murderabilia” listed it on eBay in 2000. It now resides in the
  Alcatraz East Crime Museum in the Smoky Mountains.

  Denno said electric chairs have “a history of botches that has
  only gotten worse.”

  In two Florida executions in the 1990s, smoke and flames shot
  from the condemned inmates’ heads. In 1999, blood spilled
  from under an inmate’s mask.

  Shortly afterward, the U.S. Supreme Court agreed to decide
  whether the electric chair violates the 8th Amendment
  prohibition on cruel and unusual punishment. But the case was
  dropped after Florida switched to lethal injection.

  Tennessee has executed only one person in Leuchter’s electric
  chair. Daryl Holton died that way in 2007.

  In preparation, an electrical engineer reduced the voltage from
  2,640 to 1,750 and raised the amperage from 5 to 7. The timing
  was also changed, from two, one-minute jolts with a 10-second
  pause between, to a 20-second and 15-second jolt with a 15-
  second pause between.

  The execution was successful.

  The chair was inspected on Oct. 10 of this year and found to
  meet the criteria for an execution, state documents show.

  But Leuchter said he feels the chair now is “defective and
  shouldn’t be used.”

  “It worked the first time, but I think they were lucky,” he said.



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